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iN THE UNiTED sTATEs DlsTRICT CoURT “` §§

FoR rita wEsTERN DISTRICT oF TENNESSE§§§; §§§§ ;>3 P§§ §§ §§
EASTERN DIVISION “‘ " ' “

 

 

UNITED STATES OF AMERICA

V.

DAVID ALANIS 05c1‘20132-1-D

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 03 IFS ”05 the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

, ii _ -i
NAME @D[LWS|L (@?¢MU.’/V(Cp who is Retailiedeppointed.
The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

f/ The defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
/___
§§ /A/mm @/

UNITED STATES MAGISTRATE ]UDGE

 

CI-IARGES - 21:846
21:846 CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE

Attorney assigned to Case: L. Craig

Age: ita

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UNITED sATE DrsTRICT COUR - wETERN DIsTRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20132 was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

